           Case 1:17-cr-00511-VEC Document 411 Filed 05/24/22 Page 1 of 2
                                                                 USDC SDNY
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                                                                 ELECTRONICALLY FILED
                                                                 DOC #:
UNITED STATES DISTRICT COURT                                     DATE FILED: 5/24/2022
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 UNITED STATES OF AMERICA                                     :
                                                              : 22-CR-128 (VEC)
                 -against-                                    : 17-CR-511 (VEC)
                                                              :
                                                              :     ORDER
 QUADAE BERGER,                                               :
                                                              :
                                          Defendant.          :
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

       WHEREAS on May 24, 2022, Mr. Berger appeared for a change-of-plea hearing and

entered a plea of guilty as to the charge of being a felon in possession of a firearm (22 CR 128);

       WHEREAS there is an outstanding charge that Mr. Berger violated the terms of

supervised release in 17 CR 511; and

       WHEREAS the Court prefers to resolve the violation of supervised release before

sentencing the Defendant in connection with the above-referenced plea.

       IT IS HEREBY ORDERED that a hearing on the violation of supervised release

specifications will be held on Tuesday, October 4, 2022 at 10:30 a.m. in Courtroom 443 of the

Thurgood Marshall Courthouse, 40 Foley Square, New York, NY 10038.

       IT IS FURTHER ORDERED that the Court will immediately proceed to sentencing on

the criminal charge after the hearing on the violation of supervised release. If the Court finds at

the hearing that Mr. Berger violated supervised release, the Court will impose a sentence on both

the criminal charge and the violation of supervised release at the hearing. Sentencing

submissions are due by no later than September 20, 2022.

       IT IS FURTHER ORDERED that, per the SDNY COVID-19 Courthouse Entry Program,

any person who appears at any SDNY courthouse must complete a questionnaire. Please see the
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enclosed instructions. Completing the questionnaire ahead of time will save time and effort upon

entry. Only those individuals who meet the entry requirements established by the questionnaire

will be permitted entry. Please contact chambers promptly if you or your client do not meet the

requirements.


SO ORDERED.
                                                      ___________________________
Date: May 24, 2022                                          VALERIE CAPRONI
      New York, NY                                        United States District Judge




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